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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

REUTERS AMERICA LLC,

Plaintiff,

-against-

NEWSPAPER GUILD OF NEW YORK,
LOCAL 3

Defendant.

10 Civ. 2208 (sHs)

ORDER

 

 

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SIDNEY H. STEIN, U.S.D.J.

Reuters America LLC Was directed by an Order of this Court dated March 29, 2010, to show

cause Why this action should not be dismissed for the reasons set forth in this Court’s Opinion and

Order dated March 9, 2010 in Reuters Am. LLC v. Newspaper Guila' of N. Y., Local 3, No. 10 Civ.

0273, 10 Civ. 0639, 2010 U.S. Dist. LEXIS 21758 (S.D.N.Y. Mar. 9, 2010) (“Reuters 1”). Having

received Reuters’ submission and the Newspaper Guild’s response, the Court finds that Reuters has

not set forth any facts that would warrant an outcome that is different from the one reached in Reuters

I. Accordingly, this Court affirms its Order dated April 9, 2010 that Reuters’ petition to stay the

arbitration in this case should be dismissed for the reasons set forth in Reuters 1 .

Dated: New York, New York
April 29, 2010

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Sidney Ij/ Stein, U. S. D. J.

